79 F.3d 1162
    Morley's Auto Body, Inc., a Florida Corp., d/b/a Morley'sTowing, Morris Solow, David Solow, d/b/a Dave'sTowing, Kenneth Solowv.Don Hunter, Sheriff of Collier County, L. Wayne Graham,Captain in Collier County Sheriff's Office,Collier County, Collier County Sheriff'sOffice, John Doe 1-10
    NO. 94-3158
    United States Court of Appeals,Eleventh Circuit.
    Feb 27, 1996
    M.D.Fla., 70
    F.3d 1209
    
      1
      DENIALS OF REHEARING EN BANC.
    
    